Case 1:04-cv-01018-.]DT-STA Document 31 Filed 05/03/05 Page 1 of 2 Page|D 27

IN THE UNITED sTATES DISTRICT coURT
FoR THE WESTERN DISTRJCT oF TENNESSEE ;@
EASTERN DIVISION /M`A v° \
JESSE HARRIS,
Plaintiff,
No. 04-1018 T/An

V»

FRED RANEY, et al.,

".IWV\_/\./\,l\,/\,/W

Defendants.

 

ORDER DENYING MOTION TO AMEND RESPONSE

 

Before the Court is Plaintiff’s Motion to Amend Response to Defendant’s AnsWer to the
Compfaint filed on January 18, 2005. The Federal Rules of Civil Procedure do not require
nor authorize a Plaintiff to respond to an Answer to a Complaint filed by a Defendant.

As such, Plaintiff’s Motion to Amend his Response is not appropriate, is unnecessary, and should

M_)

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE IUDGE

Date: W/f"n 03', 2‘0.)/

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be DENIED.

IT IS SO ORDERED.

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with Flule 58 and.'or_79 (a) FRCP on `

 

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This notice confirms a copy of the document docketed as number 31 in
case 1:04-CV-01018 Was distributed by faX, mail, or direct printing on
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ESSEE

 

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Honorablc J ames Todd
US DISTRICT COURT

